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FOIA Summons IH form 4
4/17



                                             UNITED STATES DISTRICT COURT
                                                            for the
                                                 Southern District of New York
 RECLAIM THE RECORDS and ALEC
 FERRETTI
                                                          )
                           Plaintiff                      )
                                                          )
                    v.                                    )           C ivil Action N o. _______________
                                                          )
  UNITED STATES DEPARTMENT OF STATE
                                                          )
                           D efendant                     )



                                              SUMMONS IN A CIVIL ACTION

 To:      (D efendant’s nam e and address)

          United States Department of State
          c/o The Executive Office, Office of
          the Legal Adviser, Suite 5.600,
          600 19th Street NW, Washington
          DC 20522
          A lawsuit has been filed against you.

         Within 30 days after service of this summons on you (not counting the day you received it) you must
 serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
 Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
 address are:
           David B. Rankin, Esq.
           Jeffrey Kinkle, Esq.
           BELDOCK LEVINE & HOFFMAN
           99 Park Avenue
           New York, New York 10016

       If you fail to respond, judgment by default may be entered against you for the relief demanded in the
 complaint. You also must file your answer or motion with the court.



                                                                CLERK OF COURT



 Date:
                                                                      Signature of C lerk or D eputy C lerk
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Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)                                        .

          ’ I personally served the summons on the individual at (place)
                                                                                on (date)                         ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                            , a person of suitable age and discretion who resides there,
          on (date)                           , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                   , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                         ; or

          ’ I returned the summons unexecuted because                                                                         ; or

          ’ Other (specify):
                                                                                                                                      .


          My fees are $                       for travel and $                   for services, for a total of $                       .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                      Server’s signature



                                                                                    Printed name and title




                                                                                       Server’s address

Additional information regarding attempted service, etc:
